                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        Eastern Division
\ ,

      UNITED STATES OF AMERICA                              *
                                                            *
             V.                                             *       Cr:-iminal No: 5:18-CR-00223
                                                            *
      SEMIU ODERINDE SANUSI                                 *
                                                            *
                                    Defendant(s).           *
                                                            *
                                                     ORDER

             UPON CONSIDERATION of Defendant's Motion for Review and Modification of His

      Conditions of Release, -ane the Unitoo Stat@s 0pp0sitioA if an31,- it is thereupon this   IO   day of

        14kt No-vaM~, 2021, hereby;
             ORDERED, that the Defendant's Motion for Review and Modification of His Conditions of

      Release is GRANTED,-


              SO ORDERED. This~ day ofNovember, 2021.


                                                                     JA    ES C. DEVER III
                                                                     United States District Judge




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